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c12)   United States Patent                                              (10) Patent Νο.:               US 10,405,457 Β2
       Boyd et al.                                                       (45) Date of Patent:                         Sep.3,2019

(54)   APPLIANCE IMMERSION COOLING                                  (51)    Int. CI.
       SYSTEM                                                               H0JL 23144                 (2006.01)
                                                                            H0SK 7120                  (2006.01)
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                 David Christopher Laguna, Austin,                                               (2013.01); H0SK 7120272 (2013.01)
                 ΤΧ (US); Thomas R. Turner,                         (58)    Field of Classification Search
                 Georgetown, ΤΧ (US); Kenneth D.                            CPC ...................... ΗΟ5Κ 7/20236; ΗΟ5Κ 7/20272;
                 Swinden, Hutto, ΤΧ (US); Mario                                                             H01L 23/42; H01L 23/44
                 Conti Garcia, Austin, ΤΧ (US); John                                               (Continued)
                 Charles Tribou, Austin, ΤΧ (US)
                                                                    (56)                     References Cited
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                  David Christopher Laguna, Austin,
                  ΤΧ (US); Thomas R. Turner,                               4,590,538 Α *      5/1986 Cray, Jr. ............ ΗΟ5Κ 7 /20236
                  Georgetown, ΤΧ (US); Kenneth D.                                                                                361/700
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                  Swinden, Hutto, ΤΧ (US); Mario
                                                                                                                                 361/785
                  Conti Garcia, Austin, ΤΧ (US); John
                  Charles Tribou, Austin, ΤΧ (US)                                                (Continued)

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                                                                    JP                  5956100 Bl *      7/2016              G06F 1/20
( *)   Notice:      Subject to any disclaimer, the term ofthis      RU                  2042294 Cl        8/1995
                    patent is extended or adjusted under 35         su                  1764094 Al        9/1992
                    U.S.C. 154(b) by 680 days.                      Prίmary Examίner -    Devon Russell
                                                                    (74) Attorney, Agent, or Fίrm - Jeffrey Van Myers
(21)   Appl. Νο.:        14/355,533
(22)   PCT Filed:        Dec. 13, 2013                              (57)                        ABSTRACT
                                                                    Α appliance immersion tank system compήsing: a generally
(86)   PCT Νο.:          PCT/US2013/075126
                                                                    rectangular tank adapted to immerse in a dielectήc fluid a
       § 371 (c)(l),                                                plurality of appliances, each in a respective appliance slot
       (2) Date:         Apr. 30, 2014                              distήbuted vertically along, and extending transverse to, the
                                                                    long axis of the tank; a pήmary circulation facility adapted
(87)   PCT Pub. Νο.: WO2014/109869                                  to circulate the dielectήc fluid through the tank; a secondary
       PCT Pub. Date: Jul. 17, 2014                                 fluid circulation facility adapted to extract heat from the
                                                                    dielectήc fluid circulating in the primary circulation facility,
(65)                   Prior Publication Data                       and to dissipate to the environment the heat so extracted; and
       US 2015/0181762 Al          Jun. 25, 2015                    a control facility adapted to coordinate the operation of the
                                                                    pήmary and secondary fluid circulation facilities as a func-
              Related U.S. Application Data                         tion of the temperature of the dielectric fluid in the tank. Α
(60)   Provisional application Νο. 61/737,200, filed οη Dec.        plenum, positioned adjacent the bottom of the tank, is
       14, 2012, provisional application Νο. 61/832,211,            adapted to dispense the dielectήc fluid substantially uni-
       filed οη Jun. 7, 2013.                                                                 (Continued)
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formly upwardly through each appliance slot. Α weir, inte-
grated hoήzontally into a long wall of the tank, is adapted to
facilitate substantially uniform recovery of the dielectήc
fluid flowing through each appliance slot. All active and
most passive components ofboth the primary and secondary
fluid circulation facilities, and the control facility are fully
redundant, and are adapted automatically to operate in a
fail-soft mode.

                  16 Claims, 7 Drawing Sheets


(58)    Field of Classification Search
        USPC .......................................................... 361/699
        See application file for complete search history.

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    34a
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                                                                                        Fig. 2
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         Fig. 4
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                                                                                  Section C-C
                                                                                    Fig. 6
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                                 Fig. 7
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              \    18a                                            }
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                    18                 Fig. 10

              __λ___________



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                           36          Fig. 11        66
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                                       Fig. 12
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                                                                                     Secondary
                                                                                     Controller

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                                 Fig.13
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        APPLIANCE IMMERSION COOLING                                   is an essential element in the system architecture, such as the
                   SYSTEM                                             central processing unit ("CPU"). One possible solution to
                                                                      this problem is to immerse circuit assemblies vertically into
            CROSS-REFERENCE το RELATED                                a tank containing the cooling fluid such that each of the
                        APPLICATIONS                                5 various assemblies can be withdrawn independently from
                                                                      the tank for servicing, replacement, upgrade, etc. One inter-
    This application is related to the following Provisional          esting example of such a system is disclosed in a web-
Applications:                                                         presentation entitled "Puget Custom Computer's mineral-
1. Ser. Νο. 61/737,200, filed 14 Dec. 2012 ("First Parent             oil-cooled PC", by Nilay Patel ("Puget") (posted 12 May
    Provisional"); and                                             10
                                                                      2007 at 11:57 ΑΜ; a copy ofwhich is submitted herewith).
2. Ser. Νο. 61/832,211, filed 7 Jun. 2013 ("Second Parent             As noted by the author, the lack of supplemental apparatus
    Provisional");
                                                                      in the Puget system to extract waste heat from the oil
and hereby claims benefit of the filing dates thereof pursuant
                                                                      inherently limited its operating capabilities.
to 37 CFR § 1.78(a)(4). (Collectively, "Parent Provision-
als"). The subject matter ofthe Parent Provisionals, each in 15          Another problem with the Cray Research systems in
its entirety, is expressly incorporated herein by reference.          particular is the nature and cost of the chosen cooling fluid:
                                                                      fluorocarbon liquids. As is known, other dielectric fluids,
           BACKGROUND OF ΤΗΕ INVENTION                                such as mineral oil, have better heat transfer characteristics;
                                                                      of course, being an oil, the use thereof does represent a
    1. Field of the Invention                                      20 greater residue problem οη modules that may be repairable.
    The present invention relates generally to electήcal appli-       Notwithstanding, the Puget system implemented precisely
ance cooling systems, and, in particular, to an improved              this design choice.
appliance immersion cooling system and method of opera-                  US Patent Application Publication 2011/0132579, "Liq-
tion.                                                                 uid Submerged, Hoήzontal Computer Appliance Rack and
    2. Descήption of the Related Art                               25 Systems and Method of Cooling such a Appliance Rack",
    Ιη general, in the descriptions that follow, we will italicize    Best, et al. ("Best"), discloses a appliance immersion tank
the first occurrence of each special term of art which should         system, include support apparatus for extracting waste heat
be familiar to those skilled in the art of immersion cooling          from the tank cooling fluid and dissipating to the environ-
systems. Ιη addition, when we first introduce a term that we          ment the heat so extracted. Although an improvement in
believe to be new or that we will use in a context that we 30 several respects over the pήor art discussed above, this
believe to be new, we will bold the term and provide the              system exhibits, inter alia, the following problems: generally
definition that we intend to apply to that term.                      non-uniform flow patterns through the several appliance
   U.S. Pat. Νο. 4,590,538, 'Ίmmersion Cooled High Den-               slots within the tank, potentially resulting in uneven cooling
sity Electronic Assembly", Cray (filed 18 Nov. 1981 and               across all slots; constricted dielectric fluid supply and return
issued 20 May 1986) ("Cray"), is an early example of an 35 ports resulting in Ullllecessarily high fluid flow velocities at
immersion system for cooling electronic components during             the respective points of connection to the tank; poor scal-
normal operation. Οη information and belief, the machine              ability; and inadequate attention to fail-soft operation.
disclosed therein was the Cray-2 super-computer ("Cray-2")               The subject matter of all of the pήor art references
manufactured by Cray Research, Inc. ("Cray Research"), of             discussed above, each in its entirety, is expressly incorpo-
Chippewa Falls, Wis. Of particular interest to the present 40 rated herein by reference.
application is the descήption of the significant advantages              We submit that what is needed is an improved appliance
resulting from using an electrically non-conductive or                tank immersion system and method of operation. Ιη particu-
dielectήc fluid to extract heat from electronic circuit assem-        lar, we submit that such a system should provide perfor-
blies duήng normal operation (see, e.g., col. 1, line 66-col.         mance generally comparable to the best pήor art techniques
2, line 29).                                                       45 but more efficiently and effectively than known implemen-
    Οη information and belief, Cray Research released, in             tations of such pήor art techniques.
1985, a marketing brochure entitled "The CRAY-2 Com-
puter System" (a copy of which is submitted herewith)                          BRIEF SUMMARY OF ΤΗΕ INVENTION
descήbing the Cray-2. Of particular interest in this brochure
is the descήption therein ofthe significant advantages result- 50        Ιη accordance with a preferred embodiment of our inven-
ing from using a dielectric fluid to extract heat from elec-          tion, ...
tronic circuit assemblies during normal operation (see, pages
10 and 13).                                                                   BRIEF DESCRIPTION OF ΤΗΕ SEVERAL
   U.S. Pat. Νο. 5,167,511, 'Ήigh Density Interconnect                                VIEWS OF ΤΗΕ DRAWINGS
Apparatus", Κrajewski, et al. (issued 27 Nov. 1992) ("Κra- 55
jewski"), discloses another example of an immersion system               Our invention may be more fully understood by a descrip-
for cooling electronic components duήng normal operation              tion of certain preferred embodiments in conjunction with
(see, e.g., col. 2, lines 43-51). Οη information and belief, a        the attached drawings in which:
machine implementing the Κrajewski system was also mar-                  FIG. 1 illustrates, in partial cut-away form, a front per-
keted by Cray Research as a follow-on super-computer to 60 spective of a tank module of an appliance immersion cooling
the Cray-2.                                                           system constructed in accordance with our invention;
    One particular problem in the vertical-stack-type systems            FIG. 2 illustrates a rear perspective of the tank module
disclosed in the above references is the necessity of draining        shown in FIG. 1;
the cooling fluid whenever physical access to the electronic             FIG. 3 illustrates a close-up perspective of a detail Α of
modules was required. Ιη general, such an operation, besides 65 FIG. 2;
being time consuming, requires the entire system to be                   FIG. 4 illustrates a close-up perspective of a detail Β of
switched off, especially ifthe component requiring attention          FIG. 2;
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                              3                                                                    4
   FIG. 5 illustrates, in perspective view, several details of       shown in FIG. 2); and control equipment cabinets 34a and
the tank shown in FIG. 1, with special emphasis οη the               34b, each adapted to accommodate the module status and
dielectήc fluid recovery weir integrated into the long rear          control equipment associated with a respective one of the
wall of the tank;                                                    pήmary circulation facilities 28a and 28b (see, FIG. 13).
   FIG. 6 illustrates, in cross-section view, the section C-C 5         As can be best seen in FIG. 2, the pήmary circulation
in FIG. 5;                                                           facility 28 (compήsing redundant sub-facilities 28a and 28b)
   FIG. 7 illustrates, in perspective view, the plenum facility      comprises both passive (conduits, couplers, etc.) and active
shown in FIG. 1;                                                     (valves, pumps, sensors, etc.) components; a subset of the
   FIG. 8 illustrates, in top plan view, the orifice plate           passive components are shared, whereas, in general, the
portion of the plenum facility shown in FIG. 7;                   10 active components are duplicated and adapted to cooperate
   FIG. 9 illustrates, in perspective view, the chamber por-         in operation as separate, redundant sub-facilities. Excluding
tion of the plenum facility shown in FIG. 7;                         the tank 14, the primary shared component is the plenum
   FIG. 10 illustrates, in top plan view, a plurality of appli-      facility 36 (see, FIG. 1 and FIG. 7) comprising an orifice
ance slots distributed vertically along, and extending trans-        plate 36a (see, FIG. 8) and a plenum chamber 36b (see, FIG.
verse to, a long axis of the tank of FIG. 1;                      15 9). As can be seen in FIG. 1, cooled dielectήc fluid is
   FIG. 11 illustrates, in longitudinal cross-sectional view,        pumped into both ends ofthe plenum facility 36 via a shared
the plurality of appliance slots distributed vertically along,       distήbution header 38 (see, FIG. 2 and FIG. 3). Ιη general,
and extending transverse to, the long axis ofthe tank ofFIG.         the plenum plate 36a comprises at least one row of oήfices
1;                                                                   vertically aligned with each appliance slot 18a, with the
   FIG. 12 illustrates, in flow schematic form, one instan- 20 dimensions and flow rates of each set being adapted to
tiation of a flow arrangement suitable for implementing our          provide substantially equal flow of the dielectήc fluid
invention; and                                                       upwardly into each appliance slot 18a. Preferably, each
   FIG. 13 illustrates, in control schematic form, one instan-       appliance slot 18a is supplied via several rows of orifices,
tiation of a flow control facility suitable for implementing         thus generally tending to reduce the volume ofthe dielectήc
our invention.                                                    25 fluid exiting each orifice and to make the flow of dielectήc
   Ιη the drawings, similar elements will be similarly num-          fluid more uniform upwardly through the appliance slots 18.
bered whenever possible. However, this practice is simply            One further shared component is the dielectήc fluid recovery
for convenience of reference and to avoid unnecessary                facility 40 (FIG. 2) compήsing a dielectήc fluid recovery
proliferation of numbers, and is not intended to imply or            reservoir 42 (see, FIG. 3, FIG. 4 and FIG. 13) positioned
suggest that our invention requires identity in either function 30 vertically beneath the overflow lip of the weir 22 and
or structure in the several embodiments.                             adapted smoothly to receive the dielectric fluid as it flows
                                                                     over the weir 22; the dielectήc fluid recovery reservoir 42 is
            DETAILED DESCRIPTION OF ΤΗΕ                              further adapted to allow the recovered fluid to be removed
                          INVENTION                                  from the reservoir 42 via redundant recovery ports 44a and
                                                                  35 44b (only port 44a can be seen in FIG. 2 as the port 44b is
   Shown in FIG. 1 (front view) and FIG. 2 (rear view) is a          obscured by the heat exchanger 32a; but see FIG. 12). As
tank module 10 adapted for use in an appliance immersion             can be seen in both FIG. 3 and FIG. 4, we consider it
cooling system constructed in accordance with a preferred            desirable to provide a vortex breaker at the input of each of
embodiment of our invention. For convenience of reference,           the recovery ports 44. Also, we provide a removable recov-
we have illustrated in FIG. 1 the tank facility 12 of the 40 ery reservoir cover 46 adapted to also cover a major portion
immersion module 10 in partial cut-away to emphasize                 of the distribution header 38; note that, in both FIG. 2 and
several important internal facilities; we have shown the tank        FIG. 3, we have illustrated the reservoir cover 46 in a
facility 12 in isolation in FIG. 5. Ιη general, the tank facility    partially raised oήentation so as to better depict details that
12 compήses: a tank 14 adapted to immerse in a dielectήc             would otherwise be obscured. Note that we have constructed
fluid a plurality of electήcal appliances 16, e.g., contempo- 45 the reservoir 42 such that the average height of dielectήc
rary computer servers (see, e.g., FIG. 11), each in a respec-        fluid above the recovery ports 44 develops suflicient hydro-
tive appliance slot 18a distributed vertically along, and            static head to meet the requirements ofthe pumps 48, while
extending transverse to, a long axis of the tank 14 (see,            also tending to minimize the likelihood of breaking suction
generally, FIG. 10); an appliance rack facility 20 of con-           during normal operation.
vention design adapted to suspend the appliances 16 (see, 50            At this point in the pήmary circulation facility 28, we
e.g., FIG. 11) in respective appliance slots 18 (see, FIG. 10);      provide fully redundant sub-facilities 28a and 28b, each
a weir 22 (best seen in isolation in FIG. 5 and FIG. 6),             comprising a pήmary circulation pump (48a and 48b) and
integrated horizontally into one long wall of the tank 14            associated passive and active components which, collec-
adjacent all appliance slots 18, and adapted to facilitate           tively, provide the motive power for circulating the dielectήc
substantially uniform recovery ofthe dielectric fluid flowing 55 fluid through the shared components and tank 14. As can be
through each ofthe appliance slots 18; an interconnect panel         generally seen, each of these sub-facilities 28a and 28b is
facility 24 attached to the upper rear edge ofthe tank 14 and        adapted to recover the dielectήc fluid exiting the tank 14 via
adapted to mount various appliance power distήbution                 the weir 22, re-pressuήze the recovered fluid, pass the
equipment, cable interconnection panels and the like (none           re-pressurized fluid through a respective one of the heat
shown); and a cover 26 adapted to be opened and closed 60 exchangers 32a and 32b, and then back to the plenum
from the front of the tank 14 (and which may include a               facility 36 via the header 38.
translucent portion to allow viewing of the inteήor of the              Shown in FIG. 12 is one flow arrangement suitable for
tank 14 when in the closed position). Ιη addition to the tank        integrating our tank module 10 into a fully redundant,
facility 12, the immersion module 10 comprises: a pήmary             appliance immersion cooling system, compήsing the pή-
circulation facility 28 (portions of which are shown in both 65 mary circulation facility 28 and the secondary fluid circu-
FIG. 1 and FIG. 2); a secondary fluid circulation facility 30        lation facility 30. Ιη general, the secondary fluid circulation
(ofwhich only redundant heat exchangers 32a and 32b are              facility 30 comprises redundant secondary circulation sub-
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facilities 30a and 30b, each ofwhich is adapted to circulate          performed by the controllers 58, 60 and 62 may be imple-
a cooling fluid, e.g., treated water, through the respective          mented in the form of dedicated application-specific soft-
heat exchanger 32a and 32b to extract heat from dielectήc             ware executing οη a conventional computer platform having
fluid counter-circulating therethrough and to dissipate to the        the appropήate resources; indeed, it would be entirely fea-
environment the heat so extracted. Ιη the illustrated embodi- 5 sible to implement the entire control facility 56 οη a server
ment, each ofthe secondary fluid sub-facilities 30a and 30b           16 installed in a tank 14.
comprise conventional cooling towers 50a (including fan                  One desirable enhancement that we recommend is a
facility 52a) and 50b (including fan facility 52b ), and              remote control facility, implemented, e.g., via the master
secondary circulation pumps 54a and 54b. Το facilitate                controller 62 (or by way of a direct, per-controller interface),
flexible operation in installations including multiple immer- 10 adapted to facilitate remote monitoring of system status
sion modules 10 in combination with a plurality of second-            (e.g., temperatures, pressures, etc.) and control over system
ary circulation sub-facilities 30, a common header arrange-           control parameters (e.g., temperature and pressure limits,
ment can be implemented as illustrated in the secondary               etc.) to the pήmary controllers 58 and secondary controllers
fluid circulation loop, with flow control valves located at key       60. For example, using a conventional data communication
flow control points as is known.                                   15 hardware module 64, e.g., an ethernet card implementing the
    Shown in FIG. 13 is a control facility 56 adapted to              TCP/IP protocol, a modern web browser can be adapted to
monitor and control the operation of both the immersion               provide a graphical user interface ("GUΓ) with suflicient
module 10 (including all active components ofthe pήmary               functionality to facilitate monitoring and control of an entire
circulation facility 28), and the secondary fluid circulation         installation from a remote location. Such a GUI may be
facility 30. As will be evident to those skilled in this art, 20 implemented using any of a number of programming para-
eflicient operation of our immersion module 10 requires               digms, e.g., ΡΗΡ, .ΝΕΤ and the like.
continuous monitoring and control of several essential oper-             Operational control of redundant, continuous process flow
ating parameters, including fluidic temperatures, pressures,          systems is generally well known. Preferable, each of the
conductivity and pH at several points in the pήmary and               several redundant sub-facilities are routinely activated to
secondary circulation loops. Although the several sensory 25 assure current functionality, and to allow the inactive sub-
and control functions can be implemented using traditional            facility to be serviced according to an established schedule.
dedicated hardware components, we prefer to employ at                 We believe this continuous rotation of system resources to
least one programmable logic controller ("PLC"), commer-              be so important that we recommend switching the sub-
cially available from any of a number of respected vendors,           facilities at least once, and preferably, several times, per day;
e.g., the Allen-Bradley brand of PLCs from Rockwell Auto- 30 although this is possible to implement manually, we prefer
mation, Inc. Ιη the instantiation illustrated in FIG. 13, we          to enable the master controller 62 to control the sequencing
have depicted: a pήmary controller 58a adapted to monitor             ofthe several switch-over operations. One further aspect of
and control the operation of the primary circulation sub-             this sophistication in control is the ability to perform stress
facility 28a as a function ofthe temperature ofthe dielectήc          testing of the several sub-systems under controlled condi-
fluid in the tank 14; a secondary controller 60a adapted to 35 tions so as to assure appropήate response to real-time
monitor and control the operation of the secondary fluid              emergencies.
circulation sub-facility 30a as a function ofthe temperature             Ιη our First Parent Provisional, we have disclosed an
of the dielectήc fluid flowing through the heat exchanger             alternate embodiment comprising an appliance immersion
32a; and a master controller 62 adapted to coordinate the             tank facility wherein the function of the plenum facility 36
activities of the pήmary controller 58a and secondary con- 40 is performed by a manifold facility comprising a ladder-
troller 60a. As can be seen, we have incorporated into the            arrangement of tubular spray bars, each bar of which sup-
pήmary circulation sub-facility 28a: supply and return sen-           plies dielectric fluid to a respective appliance slot. As we
sors, including a temperature probe, Τ, inserted into a               noted, one particular advantage of this arrangement is that
thermowell (not shown) installed in the bottom of the                 individual spray bars may be shut off if the respective
reservoir 42 adjacent a respective return port 44a (note that, 45 appliance slot is not occupied and, thus, save energy. Το
in FIG. 4, only one ofthe holes that receive the thermowells          further increase energy efliciency, we have provided
is illustrated, but both holes are illustrated in FIG. 12); a pair    optional vertical flow barήers adapted to partition the tank
of sensor facilities, S, which may sense temperature, pres-           into an active portion, having active appliances, and a
sure and conductivity, as deemed desirable ); and return (and,        stagnant portion, having ηο active appliances. One further
if desired, supply) flow control valves and controls for the 50 enhancement we disclosed is the provision of temperature
pήmary circulation pump 48a; of course, a redundant set of            sensors per appliance slot, such that the flow rate through
these components exists for the pήmary circulation sub-               each spray bar can be dynamically vaήed as a function of the
facility 28b. Ιη general, the goal is to maintain the tempera-        temperature ofthe dielectήc fluid exiting the respective slot.
ture of the dielectήc fluid in the tank 14 between a prede-           Other operative configurations will be readily perceived by
termined minimum temperature and a predetermined 55 those skilled in this art.
maximum temperature.                                                     Ιη a manner analogous to the embodiment descήbed in
   As noted above, we have provided separate control equip-           our First Parent Provisional, it would be advantageous, from
ment cabinets 34a and 34b, each adapted to accommodate                an energy point of view, to provide a plurality of flow barrier
the several components compήsing a respective one of the              plates 66 (shown by way of example only in FIG. 11), each
pήmary controllers 58a and 58b. For convenience of access, 60 adapted to be attached to the top ofthe plenum facility 36 so
we prefer to co-locate with each of the cooling towers 50 a           as substantially to block the flow of the dielectric fluid
protective housing (not shown) for the respective secondary           through the row(s) of orifices in the plenum plate 36a
controller 60. Of course, the control facility 56 can be              corresponding to at least a respective one of the appliance
instantiated as a single, multi-module PLC facility, with             slots 18a; an elastomeric layer (not shown) could be pro-
similar or other combinations of monitoήng devices as 65 vided οη the interface surface of the plate( s) 66 to enhance
deemed most appropήate for a particular installation. Alter-          the sealing effect. Such an arrangement would allow the total
natively, one or more, and perhaps all, of the functions              flow through the plenum facility 36 to be adjusted, in the
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field, as a function of the actual number of active appliances    undesirable foreign matter that may have been picked up by
16 in the tank 14. Further, this arrangement can incorporate      the dielectήc fluid οη its passage though the entire primary
a relocatable vertical baffle plate 68 (see FIG. 11) adapted      circulation facility 28; chemical sensors may also be pro-
substantially to partition the tank 14 into an active portion     vided to detect the presence of unexpected chemicals that
14a containing the active appliances 16 and an inactive 5 may indicate failure of sub-components within one of the
portion 14b containing ηο appliances (or at least ηο active       appliances 16. Similar components, such as pH sensors, may
appliances 16); preferably, the baffle plate 68 is adapted to     also included in the secondary fluid circulation facility 30.
be mounted in the appliance rack facility 28 in a manner             As can be seen generally in FIG. 1, we provide a pair of
similarto an actual appliance 16 (the baffle plate 68 need not    low dielectric fluid level sensors 70a and 70b adapted to
fully block the flow of dielectric fluid between the active 10 trigger an alarm signal in the event that, for whatever reason,
portion 14a and inactive portion 14b, but only significantly      the level ofthe dielectric fluid in the tank 14 drops below a
impede the flow between these portions). Note that, in the        predetermined minimum level. Additionally, the responsive
example scenaήo illustrated in FIG. 11, we have shown one         pήmary controller 58 can initiate other actions to address the
possible arrangement of a total of 8 active appliances 16         detected problem, including activating audio alarms, trans-
distributed across 16 appliance slots 18a so as to spread the 15 mitting electronic alert signals and the like.
total heat load across adjacent empty slots 18a. Such an             Το solve a reciprocal problem, namely leakage from an
optimal arrangement is possible only if less than a majority      external portion ofthe pήmary circulation loop 28 resulting
of the available appliance slots 18a are occupied by an active    in the dielectric fluid in the tank 14 being back-siphoned
appliance 16. Clearly, such optional adjunct facilities           through the plenum facility 36, we recommend incorporat-
enhance flexibility in operation, accommodating dynamic 20 ing a siphon breaker 72 (see, FIG. 1) in the supply pipe at
adjustment of the flow rates in the pήmary circulation            a predetermined location well above the plenum facility 36
sub-facilities 28a and 28b under variable heat loads, while       but somewhat below the level ofthe weir 24. Such a siphon
providing opportunities to conserve energy that might oth-        breaker can be as simple as a relatively small diameter hole
erwise be expended moving the dielectήc fluid through the         72 dήlled through the supply pipe at the selected location;
inactive portion 14b of the tank 14. Other operative con- 25 due to the relatively high viscosity of the dielectήc fluid,
figurations will be readily perceived by those skilled in this    even when heated, any resulting leakage during normal
art.                                                              operation will be relatively insignificant. Other operative
   Ιη our Second Parent Provisional, we have disclosed            responses to address these and other unusual fluidic condi-
another embodiment comprising a more conventional, less-          tions will be readily perceived by those skilled in this art.
modularized instantiation with appropήate flow and control 30        As is known (see, e.g., Best), many conventional, com-
facilities. Ιη this embodiment, we chose to implement tank        mercially available electrical/electronic appliances include
clusters, comprising, e.g., 4 appliance immersion tank facili-    components that will not function correctly if immersed in
ties, with substantially all of the other equipment being         a dielectήc fluid, especially one as viscous as mineral oil:
constructed from stand-alone, commercially available com-         cooling fans and rotating media disk drives. Ιη general, all
ponents. Such an arrangement offers greater opportunities to 35 cooling fans are unnecessary in an immersion cooling sys-
select and install improved components, or to add enhance-        tem and can be simply removed. The media drives, however,
ments to the installation, as deemed desirable after initial      are usually necessary for normal appliance operation. One
installation. Other operative configurations will be readily      option is to remove each dήve, totally seal the drive against
perceived by those skilled in this art.                           fluid entry, and reinstall the now-sealed dήve (pre-sealed
   As we noted above with reference to the embodiment 40 dήves are also available ). Another option is to remove the
illustrated in FIG. 12, the secondary flow header facility is     dήve and mount it οη the interconnect panel facility 24;
well adapted to allow any secondary circulation sub-facility      typically special cabling will be required to re-attach the
30 to be connected to any active heat exchanger 32. Such a        dήve to the internal appliance socket. Yet another option is
facility provides great flexibility in dealing with unusual       to replace the rotating media drive with a solid-state drive
system conditions, especially in installations wherein the 45 having ηο moving components. Other operative configura-
secondary circulation sub-facilities 30a and 30b are each         tions will be readily perceived by those skilled in this art.
sized to support a cluster of tank modules 10. Imagine, for          It will be recognized that, in all of the embodiments
example, that, while one ofthe secondary circulation facili-      described herein, emphasis was placed οη minimizing the
ties 30, say sub-facility 30a, is being serviced, the activities  total volume of the dielectric fluid circulating throughout
of the set of appliances 16 in one tank 14 in the cluster are 50 each immersion module 10. We submit that the key concept
higher than normal, resulting in a ήse in temperature in that     here is to move the secondary fluid to the point of heat
tank 14 above the desired maximum. Ιη response, the master        exchange with the primary fluid, rather than to move the
controller 62 can direct Primary Controllers 58a and 58b          pήmary fluid to the point of heat exchange with the sec-
assigned to tank 14 to operate both ofthe pήmary circulation      ondary fluid. Thus, in our preferred embodiment, all of the
sub-facilities 28a and 28b simultaneously, i.e., in parallel. 55 essential components of the pήmary circulation facility 28
U sing the secondary flow header facility, the heat being         are tightly co-located with the tank 14 so as to form a
extracted by both of the heat exchangers 32a and 32b may          highly-integrated module. Further, our placement of the
be dissipated using the resources of the single on-line           reservoir 42 outside of (but immediately adjacent to) the
secondary circulation sub-facility 30b. Thus, one clear           tank 14 tends to reduce the total volume of the dielectήc
advantage of this alternate embodiment is the ability 60 fluid (as opposed to the alternative arrangement we proposed
dynamically to perform load balancing across all system           in our First Provisional, wherein a recovery trough was
resources. Other operative configurations to support sub-         disposed within the tank 14); then, we positioned the com-
system load balancing will be readily perceived by those          ponents comprising the primary circulation sub-facilities 28
skilled in this art.                                              so as to be vertically beneath the footpήnt of the reservoir
   Preferably, one or more filters (not shown) are included in 65 42. Ιη addition to conserving valuable floor space in a typical
the flow path through each of the primary circulation sub-        data center installation, the resulting modular configuration
facilities 28a and 28b to remove any particulates or other        facilitates both easy initial installation and subsequent
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upgrade to efficiently satisfy increasing data center work-             at least first and second primary circulation sub-facilities,
loads. Indeed, our invention greatly enhances system scal-                 each adapted to operate independently to circulate the
ability, a key concern to data center operators. Finally, our              dielectήc fluid through the tank;
system-wide redundancy substantially assures fail-soft               wherein the control facility is further adapted to coordinate
operation duήng periods of unusual environmental condi- 5 the operation of the first and second pήmary circulation
tions, infrastructure instability or political unrest.               sub-facilities and the secondary fluid circulation facilities so
    Although we have descήbed our invention in the context           to maintain the temperature ofthe dielectήc fluid in the tank
of particular embodiments, one of ordinary skill in this art         substantially between a predetermined minimum tempera-
will readily realize that many modifications may be made in          ture and a predetermined maximum temperature.
such embodiments to adapt either to specific implementa- 10
                                                                        5. The system of claim 1 wherein the control facility
tions. By way of example, it will take but little effort to adapt
                                                                     further compήses a communication facility adapted to facili-
our invention for use with electronic appliances other than
                                                                     tate monitoήng and control of the control facility from a
contemporary servers; and to adjust the dimensions of the
appliance accommodation slots accordingly. Similarly, prac-          remote location.
titioners in the art will readily recognize that other, known 15        6. Α tank module adapted for use in an appliance immer-
secondary circulation facilities may be employed effectively,        sion  cooling system, the tank module comprising:
including forced air, vapor compression systems, earth-                 a tank adapted to immerse in a dielectric fluid a plurality
water sink loops, waste heat recovery and recycling systems,               of electήcal appliances, each in a respective appliance
and the like (see, e.g., the several alternatives discussed in             slot distήbuted vertically along, and extending trans-
Best). Further, the several elements described above may be 20             verse to, a long wall of the tank, the tank comprising:
implemented using any of the various known manufacturing                   a weir, integrated hoήzontally into the long wall ofthe
methodologies, and, in general, be adapted so as to be                        tank adjacent all appliance slots, having an overflow
operable under either hardware or software control or some                    lip adapted to facilitate substantially uniform recov-
combination thereof, as is known in this art.                                 ery of the dielectήc fluid flowing through each
    Thus it is apparent that we have provided an improved 25                  appliance slot; and;
system and method of operation for immersion cooling of                    a dielectήc fluid recovery reservoir positioned verti-
appliances and the like. Ιη particular, we submit that such a                 cally beneath the overflow lip of the weir and
method and apparatus provides performance generally com-                      adapted to receive the dielectric fluid as it flows over
parable to the best pήor art techniques but more efficiently                  the weir;
and effectively than known implementations of such prior 30             a pήmary circulation facility adapted to circulate the
art techniques.                                                            dielectήc fluid through the tank, compήsing:
    What we claim is:                                                      a plenum, positioned adjacent the bottom of the tank,
    1. Αη appliance immersion cooling system compήsing:                       adapted to dispense the dielectήc fluid substantially
    a tank adapted to immerse in a dielectric fluid a plurality               uniformly upwardly through each appliance slot; and
       of electήcal appliances, each in a respective appliance 35       a control facility adapted to control the operation of the
       slot distήbuted vertically along, and extending trans-              primary fluid circulation facility as a function of the
       verse to, a long wall of the tank, the tank compήsing:              temperature of the dielectric fluid in the tank.
       a weir, integrated hoήzontally into the long wall of the         7. The module of claim 6 wherein the tank and primary
          tank adjacent all appliance slots, having an overflow      circulation facility compήse a highly-integrated module.
          lip adapted to facilitate substantially uniform recov- 40     8. The module of claim 6 wherein the tank further
          ery of the dielectήc fluid flowing through each            comprises:
          appliance slot; and;                                          an interconnect panel facility adapted to mount appliance
       a dielectήc fluid recovery reservoir positioned verti-              support equipment.
          cally beneath the overflow lip of the weir and                9. The module of claim 6 wherein the pήmary circulation
          adapted to receive the dielectήc fluid as it flows over 45 facility further compήses:
          the weir;                                                     at least first and second primary circulation sub-facilities,
    a pήmary circulation facility adapted to circulate the                 each adapted to operate independently to circulate the
       dielectήc fluid through the tank, comprising:                       dielectήc fluid through the tank;
       a plenum, positioned adjacent the bottom of the tank,         wherein the control facility is further adapted to coordinate
          adapted to dispense the dielectric fluid substantially 50 the operation of the first and second pήmary circulation
          uniformly upwardly through each appliance slot;            sub-facilities so to maintain the temperature ofthe dielectήc
    a secondary fluid circulation facility adapted to extract        fluid in the tank substantially between a predetermined
       heat from the dielectήc fluid circulating in the pήmary       minimum temperature and a predetermined maximum tem-
       circulation facility, and to dissipate to the environment     perature.
       the heat so extracted; and                                 55    10. The module of claim 6 wherein the control facility
    a control facility adapted to coordinate the operation of        further compήses a communication facility adapted to facili-
       the pήmary and secondary fluid circulation facilities as      tate monitoήng and control of the control facility from a
       a function of the temperature of the dielectric fluid in      remote location.
       the tank.                                                        11. Α tank module (10) adapted for use in an appliance
    2. The system of claim 1 wherein the tank and primary 60 immersion cooling system, the tank module compήsing:
circulation facility comprise a highly-integrated module.               a tank (12) adapted to immerse in a dielectήc fluid a
    3. The system of claim 1 wherein the tank further com-                 plurality of electήcal appliances (16), each in a respec-
pήses:                                                                     tive appliance slot (18) distήbuted vertically along, and
    an interconnect panel facility adapted to mount appliance              extending transverse to, a long wall ofthe tank (10), the
       support equipment.                                         65       tank (10) compήsing:
    4. The system of claim 1 wherein the primary circulation               a weir 22, integrated hoήzontally into the long wall of
facility further compήses:                                                    the tank (10) adjacent all appliance slots (18),
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         adapted to facilitate substantially uniform recovery      wherein the control facility is further adapted to coordinate
         ofthe dielectήc fluid flowing through each appliance      the operation of the first and second pήmary circulation
         slot (18);                                                sub-facilities so to maintain the temperature ofthe dielectήc
   a pήmary circulation facility (28) adapted to circulate the     fluid in the tank substantially between a predetermined
      dielectήc fluid through the tank (10), compήsing:         5 minimum temperature and a predetermined maximum tem-
      a plenum (36), positioned adjacent the bottom of the         perature.
         tank (10), adapted to dispense the dielectήc fluid
         substantially uniformly upwardly through each                14. The module of claim 11 wherein the control facility
         appliance slot (18); and                                  further compήses a communication facility (62, 64) adapted
   a control facility (58) adapted to control the operation of     to facilitate monitoήng and control of the control facility
                                                                10 from a remote location.
      the pήmary fluid circulation facility (28) as a function
      of the temperature of the dielectric fluid in the tank          15. Αη appliance immersion cooling system compήsing a
      (10).                                                        tank module according to any one of the preceding claims 11
   12. The tank module of claim 11 wherein the tank further        through 14.
comprises:                                                            16. Αη appliance immersion cooling system according to
   an interconnect panel facility (24) adapted to mount 15 claim 15, further comprising:
      appliance support equipment.
   13. The module of claim 11 wherein the pήmary circu-               a secondary fluid circulation facility adapted to extract
lation facility further compήses:                                       heat from the dielectήc fluid circulating in the primary
   at least first and second primary circulation sub-facilities         circulation facility, and to dissipate to the environment
      (28a, 28b ), each adapted to operate independently to     20      the  heat so extracted.
     circulate the dielectric fluid through the tank;                                    *   *   *    *   *
